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                       EXHIBIT	4	
	                      	
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Audience Overview

            Coopersburg, PA
                                                                                                        Dec 13, 2016 - Dec 19, 2017
            0.36% Sessions



 Overview




    Sessions
  40




  20




       January 2017                        April 2017                      July 2017                 October 2017



                                                                                       New Visitor       Returning Visitor
 Sessions                     Users                     Pageviews
 Coopersburg, PA              Coopersburg, PA           Coopersburg, PA
 110                          70                        602
                                                                                          39.1%



 Pages / Session              Avg. Session Duration     Bounce Rate                                                 60.9%
 Coopersburg, PA              Coopersburg, PA           Coopersburg, PA
 5.47                         00:04:02                  22.73%


 % New Sessions
 Coopersburg, PA
 60.91%



         Language                                                                         Sessions      % Sessions

   1. en-us                                                                                       107                       97.27%

   2. en-ca                                                                                        3      2.73%




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         All Web Site Data                                                                                                                                         GO TO REPORT
Acquisition Overview
                                                                                                                                                         Dec 13, 2016 - Dec 19, 2017
           Coopersburg, PA
           0.36% Sessions



 Primary Dimension:              Conversion:

  Top Channels                    Goal 1: Smart Goal              Edit Channel Grouping




       Top Channels                                                                      Sessions                                          Conversions

                                                       Organic Search                                                                         Smart Goal (Goal 1
                                                                                            Sessions
                                                       Direct                                                                              Conversion Rate)
                  7.3%
                                                       (Other)                     5                                                   100.00%

                                                       Display
                                                       Email
                                                       Paid Search
                                                                                   2.5                                                 0.00%
                                                       Referral
                         92.7%
                                                       Social


                                                                                    …          …       …            …                  …           …           …            …




                                 Acquisition                                             Behavior                                       Conversions
                                 Sessions          % New               New Users         Bounce Rate   Pages /          Avg.            Goal 1             Goal 1           Goal 1 Value
                                                   Sessions                                            Session          Session         Conversion         Completion
                                                                                                                        Duration        Rate

  Coopersburg, …                            110           60.91%                   67         22.73%             5.47       00:04:02             0.00%                  0          $0.00


   1     Organic Search                     102                                               21.57%                                             0.00%



   2     Direct                                8                                              37.50%                                             0.00%



   3     (Other)                               0                                               0.00%                                             0.00%



   4     Display                               0                                               0.00%                                             0.00%



   5     Email                                 0                                               0.00%                                             0.00%



   6     Paid Search                           0                                               0.00%                                             0.00%



   7     Referral                              0                                               0.00%                                             0.00%



   8     Social                                0                                               0.00%                                             0.00%


 To see all 8 Channels click here.




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Frequency & Recency

           Coopersburg, PA
                                                                                                                       Dec 13, 2016 - Dec 19, 2017
           0.36% Sessions



 Distribution

Count of Sessions


                             Sessions                                                     Pageviews

Coopersburg, PA              110                                                          602
                             % of Total: 0.36% (30,454)                                   % of Total: 0.65% (93,186)



Count of Sessions                                         Sessions                                    Pageviews

1                                                                    67                                        408

2                                                                    15                                         59

3                                                                    6                                          28

4                                                                    3                                          12

5                                                                    2                                          18

6                                                                    2                                            8

7                                                                    1                                            9

8                                                                    1                                          10

9-14                                                                 6                                          29

15-25                                                                7                                          21

26-50                                                                0                                            0

51-100                                                               0                                            0

101-200                                                              0                                            0




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Interests: Overview

              Coopersburg, PA
                                                                                                                            Dec 13, 2016 - Dec 19, 2017
              0.36% Sessions



Key Metric:

Affinity Category (reach)                                   0.26% of total sessions     In-Market Segment                               0.23% of total sessions


  6.66%                        Banking & Finance/Avid Investors                           12.35%            Home & Garden/Home Decor/Lights & Fixtures
  6.66%                        Lifestyles & Hobbies/Business Professionals                9.16%             Home & Garden/Home Decor
  6.05%                        Shoppers/Value Shoppers                                    9.16%             Travel/Air Travel
  5.75%                        Technology/Technophiles                                    9.16%             Travel/Hotels & Accommodations
  5.35%                        Travel/Business Travelers                                  8.76%             Software/Business & Productivity Software
  5.25%                        Travel/Travel Buffs                                        7.97%             Home & Garden/Home Improvement
  5.15%                        Home & Garden/Do-It-Yourselfers                            7.57%             Consumer Electronics/Mobile Phones
  4.74%                        Sports & Fitness/Health & Fitness Buffs                    7.57%             Home & Garden/Home & Garden Services
  4.24%                        Lifestyles & Hobbies/Outdoor Enthusiasts                   6.37%             Financial Services/Investment Services
  3.83%                        Lifestyles & Hobbies/Green Living Enthusiasts              6.37%             Home & Garden/Home Appliances



Other Category                                              0.25% of total sessions


                               Computers & Electronics/Consumer
  28.79%
                               Electronics/Home Automation
                               Home & Garden/Home Furnishings/Lamps &
  27.27%
                               Lighting
  24.24%                       News/Weather
  19.70%                       Science/Astronomy
                               Arts & Entertainment/Celebrities & Entertainment
  0.00%
                               News
                               Arts & Entertainment/Comics & Animation/Anime
  0.00%
                               & Manga
                               Arts & Entertainment/Comics &
  0.00%
                               Animation/Cartoons
  0.00%                        Arts & Entertainment/Comics & Animation/Comics
  0.00%                        Arts & Entertainment/Entertainment Industry
                               Arts & Entertainment/Entertainment Industry/Film
  0.00%
                               & TV Industry/Film & TV Awards




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New vs Returning

             Coopersburg, PA
                                                                                                                                         Dec 13, 2016 - Dec 19, 2017
             0.36% Sessions



 Explorer

 Summary




     Sessions
   40




   20




        January 2017                         April 2017                                   July 2017                                  October 2017




                               Acquisition                                  Behavior                                           Conversions
User Type
                                                % New          New           Bounce       Pages /          Avg. Session         Goal Conversion           Goal            Goal
                               Sessions
                                               Sessions        Users          Rate        Session            Duration                 Rate             Completions        Value

                                     110            60.91%             67       22.73%            5.47            00:04:02                   0.00%                   0       $0.00
                               % of Total:     Avg for View:       % of         Avg for   Avg for View:        Avg for View:         Avg for View:         % of Total:   % of Total:
  Coopersburg, PA                   0.36%             75.73%      Total:         View:              3.06            00:01:53                  0.00%             0.00%         0.00%
                                 (30,454)          (-19.57%)      0.29%          56.51%       (78.85%)            (113.64%)                  (0.00%)               (0)      ($0.00)
                                                               (23,064)       (-59.78%)


1. New Visitor                         67          100.00%             67      22.39%             6.09            00:04:20                   0.00%                   0       $0.00
                                  (60.91%)                     (100.00%)                                                                                       (0.00%)       (0.00%)


2. Returning Visitor                   43             0.00%             0      23.26%             4.51            00:03:35                   0.00%                   0       $0.00
                                  (39.09%)                       (0.00%)                                                                                       (0.00%)       (0.00%)


                                                                                                                                                                   Rows 1 - 2 of 2




                                                                             © 2017 Google
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Pages

              Coopersburg, PA
                                                                                                                                             Dec 13, 2016 - Dec 19, 2017
              0.65% Pageviews



 Explorer




     Pageviews
  50




  25




       January 2017             April 2017                                       July 2017                                      October 2017




Page                            Pageviews            Unique Pageviews           Avg. Time on Page            Entrances         Bounce Rate        % Exit                 Page Value


                                              602                        487                    00:00:54                 110           22.73%               18.27%                 $0.00
   Coopersburg, PA                   % of Total:                 % of Total:                 Avg for View:      % of Total:       Avg for View:       Avg for View:            % of Total:
                                             0.65%                      0.65%                     00:00:55           0.36%              56.51%               32.68%                 0.00%
                                       (93,186)                    (74,633)                      (-1.61%)         (30,454)           (-59.78%)             (-44.09%)              ($0.00)


 1. /                                         107                         92                    00:00:44                  89           21.35%               25.23%                 $0.00
                                       (17.77%)                     (18.89%)                                       (80.91%)                                                        (0.00%)


 2. /products                                  60                         45                    00:00:43                   2            0.00%               11.67%                 $0.00
                                         (9.97%)                     (9.24%)                                        (1.82%)                                                        (0.00%)


 3. /portfolio/images/                         54                         45                    00:00:57                   0            0.00%               33.33%                 $0.00
                                         (8.97%)                     (9.24%)                                        (0.00%)                                                        (0.00%)


 4. /products/r-series/                        39                         30                    00:01:36                   4           25.00%               30.77%                 $0.00
                                         (6.48%)                     (6.16%)                                        (3.64%)                                                        (0.00%)


 5. /manufacturing/                            35                         31                    00:00:22                   0            0.00%               11.43%                 $0.00
                                         (5.81%)                     (6.37%)                                        (0.00%)                                                        (0.00%)


 6. /installation/                             32                         27                    00:01:44                   1            0.00%                9.38%                 $0.00
                                         (5.32%)                     (5.54%)                                        (0.91%)                                                        (0.00%)


 7. /about-us/                                 28                         22                    00:01:20                   1            0.00%               25.00%                 $0.00
                                         (4.65%)                     (4.52%)                                        (0.91%)                                                        (0.00%)


 8. /products/d-series/                        23                         18                    00:00:19                   1            0.00%               13.04%                 $0.00
                                         (3.82%)                     (3.70%)                                        (0.91%)                                                        (0.00%)


 9. /products/p-series/                        23                         21                    00:00:17                   0            0.00%               13.04%                 $0.00
                                         (3.82%)                     (4.31%)                                        (0.00%)                                                        (0.00%)


10. /series/r-series/                          21                         14                    00:03:09                   3           66.67%               14.29%                 $0.00
                                         (3.49%)                     (2.87%)                                        (2.73%)                                                        (0.00%)


                                                                                                                                                                       Rows 1 - 10 of 33




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Users Flow                                                                                                                                                          Dec 13, 2016 - Dec 19, 2017

       Coopersburg, PA
       0.36% Sessions




                                    Starting pages                             1st Interaction                    2nd Interaction             3rd Interaction
                Country
                                    110 sessions, 26 drop-offs                 84 sessions, 13 drop-offs          71 sessions, 16 drop-offs   55 sessions, 9 drop-offs

                    United States        /                                          /products                          /products/r-series/         /manufacturing/
                    110                  89                                         28                                 9                           8



                                                                                                                       /portfolio/images/          /installation/
                                                                                                                       8                           6

                                                                                    /portfolio/images/
                                                                                    20                                                             /portfolio/images/
                                                                                                                       /products/p-series/
                                                                                                                       8                           5
                                                                    ⇩
                                                                                                                                                   /products/d-series/
                                                                                    /about-us/                         /products                   5
                                                                                    8                                  7
                                         /products/
                                         4                                                                                                         /products/p-series/
                                                                                    /series                            /series/r-series/           5
                                                                                    8                                  5
                                         /products/r-series/
                                         4                                                                                                         (14 more pages)
                                                                                                                       (16 more pages)             26
                                                                                    /installation/                     34
                                         /series/r-series/                          5
                                         3
                                                                                    (11 more pages)
                                         /products                                  15
                                         2

                                         (8 more pages)
                                         8




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Location
ALL » COUNTRY: United States                                                                                                                  Dec 21, 2016 - Dec 28, 2017

            All Users
            93.54% Sessions



 Map Overlay

 Summary




                        17                                7,122




                               Acquisition                              Behavior                                Conversions     Goal 1: Smart Goal
Region
                                              % New        New          Bounce     Pages /     Avg. Session       Smart Goal (Goal 1          Smart Goal (Goal 1       Smart Goal (Goal
                               Sessions
                                             Sessions      Users         Rate      Session       Duration          Conversion Rate)             Completions)              1 Value)

                                  28,871       75.27%       21,730      56.43%         3.06        00:01:53                         0.05%                       15                 $0.00
                               % of Total:      Avg for       % of       Avg for     Avg for    Avg for View:                 Avg for View:             % of Total:            % of Total:
                                   93.54%        View:       Total:       View:       View:          00:01:53                        0.05%                  93.75%                  0.00%
                                 (30,865)       75.77%       92.92%      56.58%         3.05         (0.06%)                       (0.22%)                    (16)                ($0.00)
                                               (-0.66%)    (23,386)     (-0.27%)     (0.24%)


 1. California                     7,122       75.26%        5,360      57.85%         3.04        00:01:46                         0.06%                          4               $0.00
                                  (24.67%)                  (24.67%)                                                                                       (26.67%)                (0.00%)


 2. New York                       5,897       79.75%        4,703      59.39%         2.86        00:01:30                         0.05%                          3               $0.00
                                  (20.43%)                  (21.64%)                                                                                       (20.00%)                (0.00%)


 3. Florida                        2,201       74.78%        1,646      55.29%         2.86        00:01:51                         0.00%                          0               $0.00
                                   (7.62%)                   (7.57%)                                                                                        (0.00%)                (0.00%)


 4. Washington                     1,956       76.79%        1,502      64.98%         2.61        00:01:23                         0.00%                          0               $0.00
                                   (6.77%)                   (6.91%)                                                                                        (0.00%)                (0.00%)


 5. South Carolina                 1,888       51.06%             964   36.23%         4.34        00:03:59                         0.11%                          2               $0.00
                                   (6.54%)                   (4.44%)                                                                                       (13.33%)                (0.00%)


 6. Colorado                         990       59.70%             591   46.16%         3.34        00:02:39                         0.10%                          1               $0.00
                                   (3.43%)                   (2.72%)                                                                                        (6.67%)                (0.00%)


 7. New Jersey                       958       84.97%             814   68.16%         2.46        00:01:16                         0.00%                          0               $0.00
                                   (3.32%)                   (3.75%)                                                                                        (0.00%)                (0.00%)


 8. North Carolina                   713       66.06%             471   47.97%         3.03        00:02:06                         0.14%                          1               $0.00
                                   (2.47%)                   (2.17%)                                                                                        (6.67%)                (0.00%)


 9. Pennsylvania                     671       82.12%             551   61.40%         2.88        00:01:22                         0.00%                          0               $0.00
                                   (2.32%)                   (2.54%)                                                                                        (0.00%)                (0.00%)


10. Texas                            635       78.74%             500   51.18%         3.52        00:02:18                         0.00%                          0               $0.00
                                   (2.20%)                   (2.30%)                                                                                        (0.00%)                (0.00%)


                                                                                                                                                                       Rows 1 - 10 of 52
           J-Geiger
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                                                                                          GO TO REPORT
           All Web SiteCase
Location
ALL » COUNTRY: United States » REGION: Pennsylvania
                                                                                                                                                 Dec 21, 2016 - Dec 28, 2017

             All Users
             2.17% Sessions



 Map Overlay

 Summary




                          1                                    306




                                   Acquisition                             Behavior                                Conversions     Goal 1: Smart Goal
City
                                                   % New       New         Bounce     Pages /     Avg. Session       Smart Goal (Goal 1          Smart Goal (Goal 1        Smart Goal (Goal
                                   Sessions
                                                  Sessions     Users        Rate      Session       Duration          Conversion Rate)             Completions)               1 Value)

                                         671        82.12%           551   61.40%         2.88        00:01:22                         0.00%                          0                $0.00
                                   % of Total:       Avg for      % of      Avg for     Avg for    Avg for View:                 Avg for View:             % of Total:             % of Total:
                                        2.17%         View:      Total:      View:       View:          00:01:53                        0.05%                   0.00%                   0.00%
                                     (30,863)        75.77%      2.36%      56.58%         3.05       (-27.62%)                    (-100.00%)                    (16)                 ($0.00)
                                                    (8.38%)    (23,384)     (8.52%)    (-5.71%)


 1. Philadelphia (pop 1.568 mil)         306        88.24%           270   76.47%         1.92        00:00:34                         0.00%                          0                $0.00
                                      (45.60%)                 (49.00%)                                                                                        (0.00%)                 (0.00%)


 2. Coopersburg (pop 2,478)              111        61.26%            68   22.52%         5.56        00:04:01                         0.00%                          0                $0.00
                                      (16.54%)                 (12.34%)                                                                                        (0.00%)                 (0.00%)


 3. Pittsburgh                             21     100.00%             21   47.62%         2.67        00:00:35                         0.00%                          0                $0.00
                                       (3.13%)                  (3.81%)                                                                                        (0.00%)                 (0.00%)


 4. Allentown                              17       64.71%            11   35.29%         4.29        00:01:20                         0.00%                          0                $0.00
                                       (2.53%)                  (2.00%)                                                                                        (0.00%)                 (0.00%)


 5. Levittown                              13       38.46%             5    7.69%         7.00        00:07:22                         0.00%                          0                $0.00
                                       (1.94%)                  (0.91%)                                                                                        (0.00%)                 (0.00%)


 6. Erie                                      9   100.00%              9   55.56%         4.78        00:03:51                         0.00%                          0                $0.00
                                       (1.34%)                  (1.63%)                                                                                        (0.00%)                 (0.00%)


 7. Lancaster                                 8     62.50%             5   62.50%         4.00        00:00:51                         0.00%                          0                $0.00
                                       (1.19%)                  (0.91%)                                                                                        (0.00%)                 (0.00%)


 8. Danville                                  7     14.29%             1   57.14%         4.14        00:01:07                         0.00%                          0                $0.00
                                       (1.04%)                  (0.18%)                                                                                        (0.00%)                 (0.00%)


 9. Villanova                                 6     50.00%             3   66.67%         1.83        00:00:15                         0.00%                          0                $0.00
                                       (0.89%)                  (0.54%)                                                                                        (0.00%)                 (0.00%)


10. Scranton                                  5     80.00%             4   60.00%         1.80        00:00:15                         0.00%                          0                $0.00
                                       (0.75%)                  (0.73%)                                                                                        (0.00%)                 (0.00%)


                                                                                                                                                                          Rows 1 - 10 of 129
       J-Geiger

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User Report




                                                   Sessions (LTV)                       Session Duration (LTV)                      Revenue (LTV)                     Transactions (LTV)          Goal Comple

                                                   42                                   03:49:30                                    $0.00                             0                           0
                                                   Sessions (Current): 21               Session Duration (Current): 01:54:45        Revenue (Current): $0.00          Transactions (Current): 0   Goal Comple



                                                                            Filter by                Sort by

  Client Id                                        Create Segment            4 selected                Descending                 Expand All           Collapse All
  343105503.1485437689

  Date Last Seen
  Dec 19, 2017
                                                      Dec 19, 2017

  Device Category
  desktop                                                 10:32 AM            00:42                              Organic Search

  Device Platform
  web
                                                      Dec 8, 2017
  Acquisition
  Date
  Jan 26, 2017                                            11:53 AM            00:11                              Organic Search

  Channel
  (not set)
                                                      Dec 5, 2017
  Source / Medium
  (not set)
                                                          11:27 AM            00:04                              Organic Search
  Campaign
  (not set)
  (organic)
                                                      Nov 30, 2017

                  Return to User Explorer Report
                                                          8:57 AM             00:05                              Organic Search



                                                      Nov 29, 2017


                                                          4:59 PM             10:24                              Organic Search



                                                      Nov 21, 2017


                                                          12:57 PM            00:09                              Organic Search



                                                      Sep 21, 2017


                                                          11:00 AM            00:00                              Organic Search



                                                      Aug 22, 2017


                                                          2:16 PM             00:01                              Organic Search



                                                          11:36 AM            38:11                              Organic Search



                                                      Aug 1, 2017


                                                          10:25 AM            00:49                              Organic Search



                                                      Jul 3, 2017


                                                          11:57 AM            00:00                              Organic Search



                                                      Apr 27, 2017


                                                          10:32 AM            00:54                              Organic Search



                                                      Apr 21, 2017


                                                          11:22 AM            13:54                              Organic Search
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            9:33 AM 23:27 Document 12-5      Filed 06/21/18 Page 12 of 17
                                    Organic Search



          Mar 14, 2017


             1:24 PM     08:30       Organic Search



          Mar 8, 2017


             1:53 PM     06:04       Organic Search



             10:42 AM    06:37       Organic Search



          Mar 2, 2017


             9:34 AM     01:47       Organic Search



          Feb 27, 2017


             4:49 PM     02:24       Organic Search



          Feb 21, 2017


             8:24 AM     00:21       Organic Search




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